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 7

 8                                    UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                        No. 1:18-CR-00079-DAD-BAM

12                       Plaintiff,

13           v.                                        PRELIMINARY ORDER OF FORFEITURE

14    AMY NICOLE CHILDRESS,

15                       Defendant.

16

17          Based upon the plea agreement entered between the United States and defendant Amy

18   Nicole Childress and the accompanying Application for Preliminary Order of Forfeiture and

19   Publication Thereof by the United States, it is hereby ORDERED, ADJUDGED AND

20   DECREEED as follows:

21          1.       Pursuant to 21 U.S.C. § 853(a), the interest of Amy Nicole Childress in the

22   following property shall be condemned and forfeited to the United States of America, to be

23   disposed of according to law:

24                   a. Approximately $5,173.00 in U.S. Currency.

25          2.       The above-listed asset constitutes property derived from, any proceeds the

26   defendant obtained, directly or indirectly, or was used or intended to be used, in any manner or

27   part, to commit, or to facilitate the commission of a violation of 21 U.S.C. §§ 841(a)(1) and

28   841(b)(1)(C).
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 1          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized

 2   to seize the above-listed property. The aforementioned property shall be seized and held by the

 3   United States Marshals Service in its secure custody and control.

 4          4.      a. Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall

 5   publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney

 6   General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

 7   General may direct shall be posted for at least 30 consecutive days on the official internet

 8   government forfeiture site www.forfeiture.gov. The United States may also, to the extent

 9   practicable, provide direct written notice to any person known to have alleged an interest in the

10   property that is the subject of the order of forfeiture as a substitute for published notice as to those

11   persons so notified.

12                  b. This notice shall state that any person, other than the defendant, asserting a

13   legal interest in the above-listed property, must file a petition with the Court within sixty (60)

14   days from the first day of publication of the Notice of Forfeiture posted on the official

15   government forfeiture site, or within thirty (30) days from receipt of direct written notice,

16   whichever is earlier.

17          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any,

18   this Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all

19   interests will be addressed.

20   IT IS SO ORDERED.
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        Dated:     May 23, 2019
22                                                       UNITED STATES DISTRICT JUDGE

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